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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA
                                                        Criminal Action No. 07-115 (PGS)
                              P1 ai nh fT
                   v.
                                                                        ORDER
NYRON BRIDGES,

                              Dc flndant.


       This matter having come before the Court on an application by Defendant to reconsider

sentencing, and the Court having reviewed the submissions by the parties, and having heard oral

argument: Ibr the reasons set forth on the record, and for good cause shown.

       IT IS. on this 5th day of November. 2009,

       ORDERED that Defendanfs request to reconsider sentencing is denied.

       IT IS SO ORDERED.
                                                        7-)       1
November 5. 2009
                                                    PETER G. SHERIDAN, U.S.D.J.
